Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 1 of 17 Page ID #:23386




       1                                                                 ~Q1~ H0~ 13 P~9 3= 40
       ~~                            UNITED STATES DISTRICT CO~'~'~`` f                 ~~ ~~~.,;T
       3                        FOR THE CENTRAL DISTRICT OF CAL~~'~(~ T              ~~,;.,''"~-~~
       4
                                          SOUTHERN DIVISION     '~r_._~.,.(,~}~A         «.._..~

       5

       6    LISA LIBERI, et al
                                                         CIVIL ACTION NUMBER:
       7
                                             Plaintiffs, ~ 8:11-cv-00485-AG
       8
                    vs.                                ~ DECLARATION OF LISA
       9
                                                         OSTELLA
      10

      11    ORLY TAITZ, et al,

      12                                   Defendants. : Date of Hearing:
      13                                                 Time of Hearing: 10 a.m.
                                                         Location:        Courtroom lOD
      14

      15

      16

      17                                   Declaration of Lisa Ostella
      18

      19             I, Lisa Ostella am over the age of 18 and am a party to the within action.
      20
            have personal knowledge of the facts herein, and if called to do, I could and
      21

      22    competently testify. I am making this Declaration under the penalty of perjury

      23    the Laws ofthe United States pursuant to 28 U.S.C. §1746.
      24

      25

      26

      27

      28


            Declaration of Lisa Ostella                                                         1
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 2 of 17 Page ID #:23387




       1

       2
                    1. I have worked with computers and the Internet for in and around 30
       3

       4   years. I have built custom portals and search engines and am very familiar wi

       5   how information is propagated and stored throughout the Internet.
       6
                   2. Richard Guerry is the founder of the non-profit organization the Insti
       7

       8   for Responsible Online and Cell-Phone Communication (IROC2).
       9
                    3. Guerry is also an author. In his book, "Public and Permanent:
      l0
      11   Golden Rule of the 21st Century", ISBN-10: 1452501327 pub. January 13, 2011

      12   author Richard Guerry argues that you should think of everything you
      13
           electronically as both public and permanent:
      14

      15           "When you post information to the World Wide Web about yourself
      16            or someone else, you are communicating as part of an intimate global
      17            community. You are essentially posting information on a community
      18            bulletin board in the town square.... Once your content has been seen
      19            and shared by even just one other person... in the global village, you
      20            can never definitively remove the information from the knowledge
      21            base of the community because anyone who has seen and saved it, can
      22
                    at any time, put it right back up on the bulletin board, or anywhere
      23
                    else in the community, whenever they want and without your
      24
                    permission or knowledge."
      25

      26           4. All mine and Plaintiff Lisa Liberi's data, public, private and tracking
      27
           been made public through the global community of the Internet, the
      28


           Declaration of Lisa Ostella                                                          2
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 3 of 17 Page ID #:23388




       1   of the Internet (Tor Network), online data lockers globally (Scribd,
       2
           eDoc, Yumpu, P1ainSite) as well as filed as public record in court cases
       3

       4   Internet Libraries.

       5           5. One of these Internet Libraries is called Archive.org, aka
       6
           Archive, aka The Wayback Machine. This library is partnered with credi
       7

       8   institutes such as: International Internet Preservation Consortium, Library o
       9
           Congress and the Smithsonian.
      10

      11           6. Our data, coupled with all the lies and smears by the Defendants,

      12   been introduced to public, historic record by certified private investi
      13
           propagated by an officer of the court (Orly Taitz) and published by p
      14

      15   institutes such as the Library of Congress and the Smithsonian.
      16
                   7. All of the online data lockers have servers located throughout the
      17

      18
           as well as, global user reach with affiliate financial incentives to encourage users

      19   embed the content into their own websites.
      20
                   8. Taitz repointed a domain, TaitzReport.com, she had from her Youtu
      21

      22   Channel to a server she obtained, manages and uploaded files to in Germany
      23
           ns1057.ui-dns.de, see EXHIBIT "A"
      24
                   9. While Taitz's site was established on this server in Germany; Tai
      25

      26   opened an offshore account with Yumpu, an online file locker, where
      27
           proceeded to upload copies of every one of her website pages, letters, publications
      28


           Declaration of Lisa Ostella                                                        3
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 4 of 17 Page ID #:23389




        1     dossiers and docket pages from every one of her court cases. See Exb. "B"
       2
                       10. Taitz's posts, documents and filings now have a life of their own. Wi
       3
       4      the financial incentives offered through the affiliate programs and the ease of

       5      embed script from Yumpu, hundreds of dynamic blog sites carry these documents.
       6
                       11. Social search engine compilers like Yasni, out of Germany, show
       7

       8      many are following Taitz's tales that running the name Lisa Liberi pulls the
       9
              US located Lisa Liberi from German or Russia search engines as the first full
      10

      11      pages of results in foreign search engines with complete pre-run search

      12      compilers                as   the        first       top        level          return:
      13
              http://www.yasni.com/lisa+liberi/check+people
      14

      15               12. This damage is permanent and dangerous. Not only are social
      16
              profilers being created; but there were also cached views of background
      17
      18
              that were shown to have been run recent enough where the cached results were

      19      attainable.
      20
                       13. From 2017-2018 on, not only did Taitz revictimize Liberia she
      f►•~■

      22      intentionally made her and her family a global target.
      23
                       14.No matter what the record shows from this point on, me and Plainti
      24
              Lisa Liberi will be historically branded perpetrators of crimes we have
      25

      26      committed with all of our personal data attached to it.
      27
              //
      28      //


              Declaration of Lisa Ostella                                                       C~
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 5 of 17 Page ID #:23390




       1           I declare under the penalty of perjury of the Laws of the United States
       2
           the State of California that the foregoing is true and correct.
       3

       4           Executed this 28th day of October, 2018 in the State of New Jersey.

       5

       6                                                        ~-~


                                                    ~~--visa Ostella           Declarant
       8
                                                       P.O. Box 1121
       9                                               Denville, NJ 07834
      to                                               Ph:(973) 798-8402
                                                       Email: lisaostella@hotmail.com
      11
      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27

      28


           Declaration of Lisa Ostella                                                       5
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 6 of 17 Page ID #:23391




       1

       2

       3

       4

       5

       6

       7

       8

       9
      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27
      28 I                                 EXHIBIT "A"

             Declaration of Lisa Ostella
      ~ ,.=cam_~c~,~,~~2y               _   ,. ..,   -          ~   -



                             r.-....                 ....

                  ~~

~
~ ~




            '.    1&1915£t ret 5E                                       1&11~ . X 21 '                          ' 1&T 1n:eenet ~E

            '. '7bZUY~.13~.19                               :~'~~       26C'Y:t1ct710l9f~€~€SCt::21a        _        1En~rL1l:~~idLen€n                                 J

            '.                                                                                                       i,.'mx:. ~: i Fnntl l.wam                          ~




                                                                                                                                                                               N


                  nsIl ~ 7.. ~ ..rinsaeg                    -           a ni .   3a:.   ~ - - ~: ~.ndl ,~

                  its EC `:7.u~.d, ; d~.

             ',   r'a52~5:.ui -iii .[;Gtn                                                                       ',                                                      ~.i.
             '.      .f . , ,.:. ..,.




                  Nt3 E.'. ....f~iD




                                                                                                                                      ;~h~t w1~h crs, eve ire c2linr'




~3~
                                                                                                                                                                                   Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 7 of 17 Page ID #:23392
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 8 of 17 Page ID #:23393




       1

       2

       3

       4

       5

       6
       7

       8

       9
      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27

      2g                                 EXHIBIT "B"

           Declaration of Lisa Ostella
Case 8:11-cv-00485-AG-RAO
  Www.orlytaitzesq.com         Document 852 Filed 11/13/18 Page 9 of 17 PagePage
                       Magazines                                             ID #:23394
                                                                                 1 of 7




         W WW.ORLYTAITZESQ.COM
         e~gr~sn I a~oocuments I ~3~az wews


                      m



                                                                                                                                     w.~.~,._                       FIIED




                                                                                                                                     ~.,
                                                                                                                                       ,u,,a.~.~. ~<~~.a,~',
                   _ __a..~_~__   .9,.....~....,.                                                                                               .n:~,. a~.v.~~ ~,
                                                                                                                                     Vie.
                                                                                                                                      d,.        . ,.~,.~~,
                                  ~ ~««~n~,,.~
                    x. ,~.   ~.~., _ ~         .,   ~ ~                                                                              ..a~..~,,~.~...~.

        (https://www.yu m pu.co m/en/d ocum enUview/24379950/cas~ttps://www.yu m pu.com/en/docu men Vview/34093717/cas~ttps://www.yu m pu.co m/en/d ocum ei
         1 11-cv-00402-rd-document-45-filed-06-13-              111-cv-00402-rd-document-3-l-filed-04-OS- '           212-cv-02997-mce-dad-document-82-f
         13-page 1 -of-74)                                      11-page 38-of 50).                                    03 04-13 page-l-)


            CASE 1:11-CV-00402-RCL DOC...                 '           CASE 1:11-CV-00402-RCL DOC...                            ',   CASE 2:12-CV-02997-MCE-DAI

           (https://www.yu m pu.com/en/docu men[/view/24379950/e;as~ttps://www.yu m pu.com/en/docu men W ew/34093717/cas~ttps://www.yu m pu.mm/en/docu n
            1 11-cv-00402-rcl-document-45-fled-    '.           '. 111-cv-00402-rcl-document3-l-filed-                ', 212-cv-02997-mce-dad-document-8
           06-13-13-page-1 -of-74)                 '.           '. 04-OS-11-page-38-of-50)                            '. filed-03-04-13-page-l-)
            odvtaitzeso_mm                         I               orlvraitzesn ram                                      ndNnitzesacom




                                                                             SUPRBMTu COOA'P OP A}.ASAIK




                                                                                   nom...,,..~w,...a.
              m.      .cap




         1 hops://www.yum pu.com/en/d ocu men Vview/22717841/gri r(hl4ps://www.yu m pu.co m/en/d ocu m enUview/29116606/th e{https://www.yu mpu.co m/en/docu mei
         petition-for-a-writ-of-mandamus-for-default-'            pantry-ino-v-mosley-alabama-appellate-                    to-multidistrict-panel-part-5-dr-orly-tai
         judgment-and-stay-)                                      watch)                                                    esquire)

            GRINOLS PETITION FOR A WRI...                             THE PANTRY, INC. V. MOSLEY -...                               PETITION TO MULTIDISTRICT.

            (https://www.yu m pu.mm/en/docu men W ew/22717841/f;ri r(htips://www.yu m pu.com/en/docu men Wiew/29116606/the{https://www.yum pu.com/en/docu r
             pefition-for-a-writ-of-mandamus-for-    ',             pantry-ino-v-mosley-ala6ama-                           to-multidistrid-panel-part-5-dr-orly
             default-judgment-and-stay-)                            appellate-watch)                                       taitz-esgwre)
             orlvtaitzesa.com                                       or/vtattzesa.com                                       orlvtaitzesa.com
         1 ht(¢~i~¢ma~a9ddao~rteittPs~ew/24594730/oPF(hest(iwv~ro~npuemY~a4eldodyrAeiAtAxiew/24298757/far~~r[~¢H~i6ia6fiwsy~u~pW¢am~a9drlodSrtref
         to-motion-to-quash-subpoena=dr-orly-tartz -',         v-obama-application-for-stay-frnat-dr-orfy- -            ys-dr-orly-taitz-esquire)
         esquire)                                              taitz-esquire)
                                                                                                                           PLAINTIFF, Y.S - DR. ORLY TAI
             OPPOSITION TO MOTION TO...                             FARRAR V OBAMA APPLICATIO...
                                                                                                                          (https://www.yumpu.com/en/docur
            (https://www.yumpu.com/en/documenVv ew/24594730/op~jb6tpe~fwww.yumpu.com/en/documenW ew/24298757/4arrya~lr-Orly-[aitz-esquire)
                                                                                                                           orlytmtzesq.com
             to-motion-to-quash-subpoena-dr-orly-                   v-obama-application-for-stay-final-dr-
                                                                                                                          (httpsY/www.yumpucom/user/o~/y(oi
             taitz-esquire)                                         orly-taitz-esquire)




  https://www.yumpu.com/en/www.arlytaitzesq.com                                                                                                          10/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.arlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 10 of 17 Page
                                                                         Page2ID
                                                                              of 7
                                                                     #:23395




                                            _I                                           y.~.~                                    ~ ..,. .,....m~..~~R,~a
            ~                                    I

       (https://www.yu m pu.com/en/docu m en Vview/37423590/1-u{~~c5://wwwyu m pu.com/en/docu menUview/36207151/fa r~r[{ps://www.yu m pu.com/en/dow m er
       demand-for-verifcation-on-12122012-a-                   final-proposed-findings-of-fact-and-                 dr-orly-[aitz esquire)
        l egal-)                                               conclusions of law)
                                                                                                                         DEFENDANTS - DR. ORLY TAIL
          1 URGENT DEMAND FOR VERI...                               FARRAR FINAL PROPOSED FIN...                         (https://www.yumpu.com/en/dotun
         (https://www.yu mpu.com/en/docu men Vview/37423590/1-u(~tlgo5://www.yu m pu.com/en/documenUvew/36207151/fa rrdrorly-taitz-esquire)
                                                            '. final-proposed-fndings-of-fact-and-                ', ertytoitzesq.mm
         demand-for-verification-on-1 21 2201 2-                                                                     (https://www.yumpu com/user/orlytoi
         a-leqal-)                                             conclusions of-law)
          ❑rfvTnitzrsn mm                                      ndvlartrvsn mm                ..    _. . .. .




                                                                      ,~   _,       ,..~ w ..     ~ ,,,.. ~.a




                                                                      ~                               ~.._           (                                      .>...
                 ...~                                                                                                       ~     _ . _ . ., a. __.d. m

                               _...._   _



               .
               , ~,..
                                                               ',     ~~   ~~.. v   ... .._      ..,....~...,   _.

       (https://www.yu m pu.com/en/d ow m en Vview/164337 98/sankflyps://www.yu m pu.co m/en/docu menbview/23233847/d af~t[ps://wwwyu m pu.com/en/d ocu mer
       private-investigator-dr-orly-taitz-esquire)              acrion-I-filed-mar-42009-dr-orly-taitz-esquire)         u-tai[z-72232010-pdf-memorandum-6~
                                                                                                                        orly-taitz-esquire)
          SANKEY(PRIVATE INVESTIGAT...               '         ' DATE ACRION L-ICED: MAR 4.2...
                                                                                                                         LIBERI V TAITZ 12.23.2070 PD
         (https://www.yu m pu.com/en/docu menUview/16433198/san~Nfps://www.yu m pu.com/en/d ocu m enUvew/23233847/date-
          private-investigator-dr-orly-taitr     ',            acrion-I-filed-mar-42009-dr-orly-taitz-               (https://www.yumpu.com/en/docur
          esquire)                               '.            esquire)                                              v-tai[z-12232070-pdf-memorandum
          orlyfoitzesq.com                       '.            orlytoitzesq.com                                       by-dr orly-taitz esgwre)
         (https://www.YumP u.com/usedorlYtoitzes              (httPs://www.Yumpu.com/usedorlY~oi[zes                 orlvtmtzesq.com
                                                                                                                    (https://www.yumpu.com/user/orlytoi




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                             10/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.orlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 11 of 17 Page
                                                                         Page3ID
                                                                              of7
                                                                     #:23396




        https://www.yumpu.com/en/documenUview/33824260/em', ~ ~     "~—                                          {https://www.yumpu.~om/en/documer
       request-for-letters-rogatory-dr-orly-taitr         (https://www.yumpu.com/en/documenVview/30314495/grir(~R=enter-key-to-select-an-item-dr-orly
       esquire)                                            proof-of-personal-service-on-onaka-dr-orly-             esquire)
                                                           taitz esquire)
       i EMERGENCY REQUEST FOR LE...                                                                              ', PRESS THE ENTER KEY TO SEL
           (https://www.yumpu.com/en/documenUvew/33824260/em~~~LS PROOF OF PERSONA...                                      (https://www.yumpu.com/en/docun
           request-for-letters-rogatory-dr-orly-               ',   (https://www.yumpu.com/en/documenVvew/30314495/~rir#~13-enter-key-to-select-an-item-dr-c
            <_~                           ."~,,,,>:.           ',   proof-of-personal-service-on-onaka-dr-




        https://www.yumpu.mm/en/documenVview/31835669/x c,,                              '~~~                      (https://www.yumpu.com/en/documer
       212-cv-10586-jfw-man-document-50-fled-                                                         `            s cond-amended-complaint-final-dr-oi
                                                         (hops://www.yu     m pu.com /en/docu mentNiew/24622538/gn no~1s-
       1211-12)                                                                                                     taitz-esgwre)
                                                          et al dr orly-taitz-esquire)

       i   X CASE 2:12-N-10586-JFW-MA...                                                                    ~N SECOND AMENDED COMP
                                                         ' GRINOLS ET AL - DR. ORLY TAI...
                                                          [a~~ps://www.yumpu.mm/en/documenWiew/24622538/grino
           (hops://wwwyumpu.com/en/documenVv ew/31835669/;:                                                (hftps://www.yumpu.mm/en/docur
                                                                                                              s-
                                                            l                                              second-amended-complaint-final-di
           212-cv-10586-jiw-man-document-50-                et-a I-d r-orly-ta itz-esq u i re)
           filed-12-11-12)                                  orly[aitzesq.com                                orly taitz esgwre)
           arlvinitzesn rom                                 (https://www.yumpu.mm/user/orlytaitzes~        nrrvtmbam ~nm



                                                                     ~                                  ....~. e-.._
                                                       ',                                        .,.~                   I
                       . .~ ~ ~                                                                                                           ~ ._.._.._..._..~
                                                                                                                                       .~~.mA..w..II.....
                                                                                                   ,u»se

                                                       ',.                     ~ ..~~~.w..m: ate,.,;.
                                                                               .                                                         .~.a        ..
                                                                                                                                          n~.~,....,,wx..




       (ht[ps://www.yu mpu.co m/en/docu menUview/31879432/res'..                                                        (hops://www.yu m pu.co m/e n/d ocu m ei
        d r-orly-taitz-esquire)                                                                                         bane-filled keyes-dr-orly-taitz-esquire)




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                                l 0/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.orlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 12 of 17 Page
                                                                         Page4ID
                                                                               of 7
                                                                       #:23397


                                                                  (ht[ps://www.yu m pu.com/en/d ocu men Vview/3498529/a nn-
          RESPONDENT- DR. ORLYTAIT...                              dunham-passport-file-sent-to-Chris-Strunk) '                  EN BANC FILLED KEYES - DR ~

         (https://www.yumpu.com/en/documenUvlew/31879432/res    de t-                                          (https://wwwyumpu.mm/en/docun
          dr-orly-[aitz-esquire)                          ', ~~~1 ~UNHAM PASSPORT FILE...                   ', bano-filled-keyes-dr-orly-taitz-esquii
          orly[aitzesq.com                     ',                                                               orlytaitzesq.com
                                                             (https://www.yumpu.com/en/documenVvew/3498529/anrn ~https://www.yumpu.mm/user/orlytoi
         (httpsUwwwyumpu.com/user/orlytaitzes~
                                                             dunha m-passport-file-sent-m-ch ris-
                    .._~-rw,u ...    ._,.      ',         ' Strunk)
                   .. .               . ..                i nrlvtnibasn rnm                                 '.




       jhttps://www.yumpu.com/en/documenUview/30843059/irn                                                  (https://www.yumpu.com/en/do~umer
        he-united-states-district-court-dr-orly-taitz-                                                        ~d endum-to-bar-complaint-dr-orly-ta
         q                                                (hops://www.yumpu.com/en/document/view/31736537/4-r~ i17- .
       es wre)                                                                                               esgwre)
                                                           t dr orly-taitz esquire)

          I N THE UNITED STATES DISTRI...                                                                                        KREEP ADDENDUM TO BAR C
                                                                     4'{,*,:R';FAIL;7 T- DR. ORLYTA...         '
         (https://www.yu mpu.cam/en/docu men Vview/30843059/in- (https://www.yumpu.com/en/documenWiew/31736537/4-rf(aih~s://www.yu m pu.com/en/d ow n
          the-united-states-district-court-dr-orly-                                                                 a dendum-to-bar-complaint-dr-orl~
                                                                t-dr-orly-taitz-esquire)
          taitz-esquire)                                        orlytoitzesq.mm                                     taitz-esquire)
         odvtpitzesa.com                                     ', (https://www.yumpumm/usedorlyCaitzes                orlvtartzesa.com




      (hops://wwva.yu m pu.co m/en/d ocu mentNiew/40821066/ta it                                                              (https://www.yu m pu.com/en/docu mer
       v-sebel i us-filed-corrected-request-for-                                                                              filed-subpoena-senator-mikulski-dr-or
                                                                th ttps://www.yu m pu.co m/e n/d oc u m e nUview/29189780/sta~e-.
       judicial-notice-exhibit)                                                                                                aitz-esquire)
                                                                af-georgic-pre-trial-order-dr-orly-taitz-                           -
                                                                esquire)
          TAITZ V SEBELIUS FILED CORR...                                                                                          GRINOLS    FILED SUBPOENA 51

         (https://www.yu m pu.com/en/documenUvlew/40821 066/1 aitSTATE OF GEORGIA -PRE- TRI...                                  (https://wwwyumpu.com/en/docun
          v-sebel i us-filed-co rreded-request-for-               ',                                                            filed-subpoena-senator-mikulski-dr
                                                                     (
          judicial-notice-exhibit)                                     hops://www.yumpu.com/en/document/view/29189780/statorly-tai[z-esquire)
          or/v[aitzesq.com                                            of-georgic-pre-trial-order-dr-orly-taitr                  orlvtmtzesp.com
        ht(¢HpIE~t(iomv~X~p~pa~mdQa~ddoofteid2lview/32499131 /pp 1- esquire)                                                 iht(~,dfieaiwrs~o~ppumm~'~aPd~Aoot}rtrei
       29-dr-orly-ta(tz-esquire)                                      orlvtgitzesarom                                        appeal-to-f~lton-county-dr-oily-taitz-
                                                                  jht~yfie6~wrs~~mr~pu.~mY~afekAodp'feiAtf~siew/42024796/farfar-
                                                                                                                             esgwre)
                                                                  et-al=v-obama-first-amended-comptainr-dr-
          PP1-29 - DR. ORLY TAITZ, ESQ...                         arty taitz esgwre)
                                                                                                                                FARRAR APPEAL TO FULTON
         (https://wv✓w.yumpu.com/en/dowmenUview/32499131 /~~p1-
          29-dr-orly-taitz-esquire)                                   FARRAR ET AL V OBAMA FIRST...                             (https://www.yumpu.com/en/docun
          orlytaitzesq.com                                                                                                      appeal-to-fultorncounty-dr-orly-taiG
         (https://www.yumpu.com/user/orlytaitzes                  ', (https://www.yumpu.com/en/documenUvew/42024796/farrar-
                                                                                                                                esquire)
                                                                      et-al-v-obama-frst-amended-                               orlytaitresgtom
                                                                      complain[-dr-orly-taitz-esquire)                          (https://www.yumpu.com/user/or/ytai
                                                                      orlytaitzesq.com
                                                                     (https://www.yump u.com/user/orlytaitzes~




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                                     10/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.orlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 13 of 17 Page
                                                                         Page5ID
                                                                               of7
                                                                      #:23398




       (https://www.yumpu.cam/en/documenVview/41722533/mo,                                                 (https://www.yumpu.com/en/documei
       zo-strike-untimely-response-dr-orly-taitz-                                                `         republicarncentral-committee-membe
                                                         (https://www.yumpu.cam/en/dowmenVview/29321143/bar-
       esgwre)                                                                                             orly-taitz-)
                                                         complaint-az-bar-dr-orly-taitz-esquire)

          M OTION TO STRIKE UNTIMELY... '                                                                     CALIFORNIA REPUBLICAN CEf
                                                             BAR COMPLAINT AZ BAR - DR....
         (https://www.yumpu.com/en/document/view/41722533/mot                                                 (https://www.yumpu.com/en/docun
                                                          .- `~s://www.yumpu.com/en/documentiview/29321143/bar-
          to-strike-untimely-response-dr-orly-                                                                republican-central-committee-
                                                             complaint-az-bar-dr-orly-taitz-esquire)
          tai[z-esquire)                                     orly[oitzesq.mm                                   members-dr-orlY taitz-)
         orlvtaitzesacom                                     (https://www.yumpu.com/user/orlytaitzes          orlv[aitzeso,com




                                                                         _.
       (https://www.yumpu.com/en/documenUview/31 736537/4-rf,                                                           (https://wwwyumpu.com/en/documei
        t dr orly-tartz-esgwre)                                                                                          thee-united-states-district-court-dr-orly
                                                           (https://www.yumpu.cam/en/documenUview/34475419/grino s- .
                                                                                                                         esgwre)
                                                            filed-subpoena-senator-mikulski-dr-orly-
           4'{,*,:R';FAIL;7T-DR.ORLYTA...                   tartz-esgwre)
                                                                                                                             IN THE UNITED STATES DISTR
           (https://www.yumpu.com/en/documen[/view/31736537/ -rfail7-
           t-dr-orly-taitz-esquire)               ',        ', GRINOLS FILED SUBPOENA SE...                                 (https://www.yumpu.com/en/docur
           orlyfaitzesq.com                                                                                                  th -united-states-district-court-dr-o
          (https.Y/www.yumpatom/user/orlyfaitzes '.            (https://www.yumpu.com/en/documenVvfew/34415419/grinols-
                                                                                                                             taitz-esquire)
              -       - - - -            -       -             filed-subPoena-senator-mikulski-d r-                          orlv[aitzeso.com
       (https://www.yumpu.com/en/documenUview/42024796/farrar-0rly-[aitz-esquire)                                       (ht(~ib~t(iomv~~~pptc~md~a4ddodsrtre~
                                                                ortvtaitzeso.com                                              aelius-fdetl=corrected-request-ftir-
       et-al-v-obama-first-amended-complaint-dr-           (htC¢gylfiffiGwv~~enp~ptc~mn'~ta9eXJodpterEtPnew/22719831/cali~O~~
        orly-tail-esquire)                                                                                              ~udiaal notice-exhibiry
                                                            ~eputrli~an=central-committee-members-dr-
                                                            orly tartz-)
           FARRAR ET AL V OBAMA FIRST...                                                                                ' TAITZ V SEBELIUS FILED CORF




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                                  10/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.orlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 14 of 17 Page
                                                                         Page6ID
                                                                               of7
                                                                   #:23399




         (https://www.yumpu.com/en/documenUvlew/42024796/farr~~LIFORNIA REPUBLICAN CEN...                       ', (https://www.yumpu.com/en/docur
          et-al-v-obama-f rst-amended-                                                                                v-sebelius-filed-corrected-request-fi
                                                           (https://www.yu m pu.com/en/d ocu men Vview/22779831/ca l ifor .'a-
                                                                                                                      uir~~ial-ontice-exhihirl
          complaint-d r-orly-taitz-esquire)
                                                           republicarncentral-committee-
                                                           ...e..,~.e.~ .a. ,..i,,..,~-,




       (hops://www.yumpu.com/en/document/view/29321143/bar                                                    (https://www.yumpu.mm/en/documer
       complaint  az bar-dr-orly-taitz esquve)                                                                 to-strike-untimely-response-dr-orly-tai
           -                                --           (hops://www.yumpu.com/en/document/view/35035766/uxtr n- .
                                                                                    orly-taitz-esquire)        ~sgwre)
                                                          srarss-drsrrucr court-dr
          BAR COMPLAINT AZ BAR- DR....
                                                                                                                  MOTION TO STRIKE UNTIMEL
         (https://www.yumpu.com/en/documenvvew/29321143/barllXTRPN SRARSS DRSRRUCR C...
          complaint-az-bar-dr-orly-taitz-esquire) ',                                                              ~(https://www.yumpu.com/en/docur
          or/y[aitzesq.com                                   (https://www.yumpu.com/en/document/view/35035766/uxt pn-
                                                                                                                  to-stri ke-u ntim ely-response-d r-orly-
         (https://www.yumpu.com/user/orlytaitzes          '. srarss-drsrrucr-court-dr-orly-taitr
                                                                                                                  tai[z-esgwre)
                                                             esgwre)                                              or/vfmtzesa com
                                                             orlytaitzesq.com
                                                  ',         (h[Cps://www.yumpu.com/user/orlyCoitzes~ `.,      '.




                                          ~nUview/31563328/aff davif-                                                 (hops://www.yu m pu.co m/en/docu mer
                                                                                                                      o-sl rtrta-fifrcrttlti-cl I-92668-d r-Orly-ta it:
       esquire)                                                                                                       esquire)

          AFFIDAVIF G[ EXPE Ff-QO U ST...                                                                                 RRNC O SLRTRTA FI.F,RCRTTL




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                                  10/28/2018
 Case 8:11-cv-00485-AG-RAO
Www.orlytaitzesq.com Magazines Document 852 Filed 11/13/18 Page 15 of 17 Page
                                                                         Page7ID
                                                                               of 7
                                                                                #:23400


             (https://www.yu m pu.com/e n/docu m en Vview/31563328/affdavif-                                        (https://www.yu m pu.com/en/d ocu n
        ',    g-expe-h-qo-u-sta-s-vast-dr-orly-taitz-                                                                o-sl rtrta-ffrcrttlti-cl I-92668-d r-orly-
              esquire)                                                                                               taitz-esquire)
              orlytaitzesq.com                                                                                       orlytoitzesq.com
             (https://www.yumpu.rom/user/orly[aines,                                                                (https://www.yumpurom/user/orlytai




                                                                          1 Q    2   3   4   5



                                               '. w„un ~r.yaa~e ~sq.com                              4'




       '~q'YR,' Change language                                      Made with love in Switzerland        O 2018 Yumpucom all rights reserved




https://www.yumpu.com/en/www.orlytaitzesq.com                                                                                           10/28/2018
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 16 of 17 Page ID
                                #:23401



        1                                    CERTIFICATE OF SERVICE
        2
        3           I, Lisa Liberi, hereby certify that a true and correct copy of Lisa Ostella's

        4
            Declaration in Support of Plaintiffs Motion for Reconsideration and Relief from Final
        5
            Judgment was served this 30th day of October, 2018, electronically through Email and
        6
        f I the Court's ECF filing system upon the following:
        I
        8                                  SCHUMANN II ROSENBERG, LLP
                                                   Kim Schumann, Esquire
        9
                                                Jeffrey Cunningham, Esquire
   10                                         3100 S. Bristol Street, Suite 400
                                                   Costa Mesa, CA 92626
   11
                                           scl~umann~a~.schumannrosenber~.com
   12                                     cunnin~hamrzschumannrosenber~.corn
                                             A ttorney for Defendant Orly Taitz
   13
   14                                             Orly Taitz, Esquire
                                            29839 Santa Margarita, Suite 100
   15                                      Rancho Santa Margarita, CA 92688
   16                                        E-mail: orly.taitz(a~gmaiLcom

   17                       A ttorney for Defendants Defend our Freedoms Foundations, Inc,
   18                               Orly Taitz, Inc., and The Law Offices of Orly Taitz.

   19
   20
   21                                                          LISA LIBERI
   22                                                          1704B Llano St. No. 159

   23                                                          Santa Fe, NM 87505
                                                               Ph: (505) 577-0829
   24
                                                               Email: lisaliberi(a~gmail.com
   25
   26
                                                               Plaintiff in Pro Se
   27
   f►


            Declaration of Lisa Ostella                                                             ~~
Case 8:11-cv-00485-AG-RAO Document 852 Filed 11/13/18 Page 17 of 17 Page ID




                                                                                                                                                                                                          +}lf                                         ~                                                              ..
      {
      ', '.                                                                        ~.     ~V,Ft~.y'~~~~~
                                                                                                 y   s   ~'~`~                       ~~5
                                                                                                                                      '
                                                                                                                                      ~, `J                           ,Y v
      a7c'                                                                               '~    ,,~,~                         ~           -       r                                                                }'
                                                                                                                                                                                                     t
                                                                                                                                                                                                   '
                                                                                                                                                                                                   r
                                                                                                                                                                                                            ~2           ~                                                                                                                  U,S POSTAGE PAID
                                                                                                                                                                                                          ~e-~ "~    "        ~                                               ~                                                             PME 1-Day
                                                                                                                                                                                                                      ~'                                                                                                                    871~24ANC H0, NM
                                                                                                                                                                                                               ~~       {fii(~•
                                                                                                                                                                                                                             n                                                           ~
                                                                                                                                                                                                           ri     ~~'O~      ~~~~~
                                                                                                                                                                                                                                ~                                                         ~
                                                                                                                                                                                                                                                                                         .o,~a`:ma.                                         AMOUNY
                                                                                                                                                                                                                                                                                                                                                           IB
                                                                                                                                                                                                                  f ~~~4       r
                                                                                                                                                                                                                                                                                          .,E,00~                 92701                      $80.35
                                                                                                                                                                                                                                                                                                                                            R2304E105775~Ofi
                                                                                                                                                                                                     4 ,Yt     ~~      ~r
                                                                                                                                                                                                   ~~:~~ ~•'~}}~~ Jam;r -'
                                                                                                                                                                                                   ~$ ~~   ~
                                                                                                                                                                                                                                                                                                                                                                                                                         ~
                                                                                                                                                                                                                                                                           ~                   k      .,a^^.""'~~q,                                                                   ~
                                                                                                                                                                                                   ~,L, 1t `fir ',ti,`~
                                                                                                                                                                                                                       '                                                  4
                                                                                                                                                                                               ~'7' .'y~, ,iS                                                        ~~- ~7
                                                                              s                   v'    ~+                               y         ~-                   ':~            f ~ r                                                                                               _,y~pt                                                                 -
               ;,~'.                                                                            ~+'..t                               ~ f r z+~~ ,`                                            r }t'~~ mh                                                               ~`'"'..,,,~so.~..v~^"                                                                                          Y., _
                                                                                                       l.'i.~~ a:~ ~.Y~                               ~ ''               > k ,g 5"                                                 ~'1,
                                                                                                                    ~                      r                                ~ ~F '~v''~ j'~ ~      a                                 ~                                                                                     -                                      _ CLrhr ~ ~ r
                               ~. .. .                                        ..               a 1'
                                                                                                 ~j                                          d f ~                                                                                                                                                                                                                                  -~7~QUA7'
                                                                                                                                                           ~             ~_ ( ~       ~.'      A~ .XI's f
                                                                                                  . ~(k V X        k ~~UI-       (       L                                              '> ~ [ ~tr                      ~.                                                                                                                                                     "=-~--~_-_.~
                                #:23402




                                                                                        Y t~y^~ r~ .t~
                                                                                                     '"     1 a
                                                                                                        Y ~r~~                         -   t                           ~,                  ~'      ~~ ~`1 z~t                                                "_                                          `                                                        _     ~ ~1VS~ p :', LQi~ ~                             -
                                                                                        r    t    bf a                               tF~ 1                                            ,             v    t~,
                                                                                          Tri
                                                                                        uz~                         ~                y                                         ,_t.                ~f '                              ~ ~',                                                                                                                      ~~'~4 ~ ~                                ~.I    .pa.
                                                                                        ~"' ;~`~~-.~rr~r
                                                                                                                                                                                                                                                                                                                                                                                           —         ~_ --
                                                                                             t~ st

                                                                                                     ~`~~ ,~ ~`~~
                                                                                          ~'"K *;F=~~•~ ~i z1.~~Y~ ''            ~L~3


                                                                                                                                     -
                                                                                                                                                  i FROM:         ~

                                                                                                                                                                                                                                    ~1~6i~ ~i~ I ►ilf II IIIII II III I III iII II
                                                                                                                                                                                                                                      ~ ~ III II I I
                                                                                                                                                                                                                                                           E L B 5 2 5 3 5 0 A 7 lJ S



                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                      ~~..n~.,         , .....     .__.~—_._
                                                                                                               '=s.                                                     ,, .                                                                                                                                                                      -a            ~~                        ._         -                       <.
                                                                                                                                                                               T                                                                                                                                                                                                 ,.                             . . ..
                                                                                                                 .~ :'~~
                                                                                                                   ~ ~~                               ~ ~                      ~       ~               ~ ~' ~.                                     EL852535087US ~                                                                               ~~`            _`>_ .          .: ~            ~~
                                                                                                                                                                                            ~
                                                                                                             ti   -                                                                                                                               uNireosr~rEs                              PRIORITY                                          ~`
                                                                                                                                                                                                                                                                                              M A IL                                                                   . .. '                                                     .
                                                                                                           `" d=~:'
                                                                                                                y                (                                                                                                            ~Fosrncseav~ce~                                      _                                   w,
                                                                                                      T            '.'> i
                                                                                                   '1 ~+,~                                                                                                  e~~
                                                                                                           4y Tt                                       n~-'.                                       i
                                                                                                       Y     ~~ w                            _                                                                                       _.
                                                                                                             p+ y,
                                                                                                             ~ ~'.                                                                                                                                                                                                                                ~»
                                                                                                                   ~~ `          ~                                                          ,. .            ~                                                                                                                                 ,p N ~~l
                                                                                                                                                                                                                                              ~.                                                                                                 ,~
                                                                                                                                                                                                                               ~          ~
                                                                                                              ~~-~
                                                                                                      ~      ;      ~~ _         ~
                                                                                                                                                         -
                                                                                                                                                   F VI k F US T
                                                                                                                                                                                   ~-
                                                                                                                                                                         g Nail U5P5.ca~n ai callBV0.22219Y 1.
                                                                                                                                                                                                                  --- --                  ~ /                                                                -                               !
                                                                                                                                                                                                                                                                                                                                                       5
                                                                                                             f                               _   • 51aoaa~ rsnve nclutlee.                                                                                                                 ~                           ~           j                              y~
                                                                                                 ".. ~piY. .,,... . .                                                                                                                              ._ .c -        c _. ,,.o_~a.~o.sae~   ._. ._                                                                 ~...                                     ,. .
                                                                                                                                                                                                                                                                                                    J-ADDRESSEE COPt                             :~        1                              ..:
                                                                                        "k01'I                                                                                                                                                                                                                                                                                                                  ~
                                                                                           ~C 1~ 5/8"
